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County                Date        Offense                 Equipment Damaged                      Replace/repair         Transportation              Total
                                                                                                                        & Replacement

Buena Vista, IA       11/8/2016         Arson (6 vehicles) 12736 ‐ 2014 Excavator Caterpillar           $145,854.28       $115,222.57
                                               (4 burned) 1313 ‐ 2012 Sideboom Caterpillar               $52,697.00       $171,753.24                 $834,046.03
                                            (2 unburned) 11302 ‐ 2014 Excavator Caterpillar             $160,985.48        $68,553.76
                                                           R004760 ‐ 2011 Sideboom Caterpillar          $118,979.70              None




County                Date        Offense                 Personnel Cost                              Equipment Cost    Materials Cost     Subs Cost Total
Mahaska County, IA    3/13/2017   Valve Piercing IA‐430                            $104,566.00          $141,299.00       $74,000.12                   $319,865.12
Cherokee County, IA   3/17/2017   Valve Piercing IA‐100                            $156,767.83            $72,929.64       $5,163.75     $59,515.55 $294,376.77*
Sioux County, IA      3/17/2017   Valve Piercing IA‐80                             $146,810.12            $77,518.74      $10,616.97                   $234,945.83
Sioux County, IA      3/17/2017   Valve Piercing IA‐90                             $171,994.73            $69,490.54       $5,163.75     $59,515.55 $306,164.57*
Boone County, IA      3/17/2017   Valve Piercing IA‐240                            $166,219.42           $109, 612.47      $5,163.70                   $280,995.59
Lincoln County, SD    3/17/2017   Valve Piercing SD‐305                            $158,491.63            $58,345.44       $5,163.75     $59,515.55 $281,516.37*
Wapello County, IA     4/9/2017   Arson IA‐460                                     $146,841.15            $51, 624.17      $4,377.64                   $202,642.96
Buena Vista, IA       4/27/2017   Arson IA‐160                                      $75,212.58           $106, 994.31         $9,112                   $191,319.84
Minnehaha, SD          5/1/2017   Valve Piercing SD‐245                             $15,666.21            $19,616.01       $3,961.10                    $39,243.32
Wapello County, IA     5/2/2017   Valve Piercing IA‐460                             $61,694.17          $116,792.15       $34,910.17                   $213,396.49


                                            $2,364,466.70 Damages from 2017 attacks
                                             $834,046.03 Damages from 2016 election night attacks
                                            $3,198,512.70 Total Damages




                                                                                                                                                      GOVERNMENT
                                                                                                                                                        EXHIBIT

                                                                                                                                                            70
                                                                                                                                                        4:19-cr-172
